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     JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310
 6 Attorneys for Defendants NSO GROUP TECHNOLOGIES
   LIMITED and Q CYBER TECHNOLOGIES LIMITED

                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10
11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF CHAIM GELFAND
                                               IN SUPPORT OF DEFENDANTS NSO
13                                             GROUP TECHNOLOGIES LIMITED
                 Plaintiffs,
                                               AND Q CYBER TECHNOLOGIES
14                                             LIMTTED'S MOTTON TO DISMISS FOR
           V.
                                               FORUM NON CONVENIENS
15
   NSO GROUP TECHNOLOGIES LIMITED
16 and Q CYBER TECHNOLOGIES LIMITED,           Date:    October 26, 2023
                 Defendants.                   Time:    1 :30 p.m.
17                                             Ctrrn:   3
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                                               Action Filed: 10/29/2019
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      DECLARATION OF C. GELFAND                                     Case No. 4: 19-cv-07123-PJH
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